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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



REBECCA KLYMN
                               Plaintiff
                                                                       21-cv-06488-JLS

                                                                   PROPOSED
MONROE COUNTY SUPREME COURT,                                   AMENDED COMPLAINT
UNIFIED COURT SYSTEM OF THE STATE
OF NEW YORK, OFFICE OF COURT
ADMINISTRATION, OFFICE of the MANAGING                                      JURY TRIAL
INSPECTOR GENERAL for BIAS MATTERS,                                         DEMANDED
COSMAS GRANT, RONALD PAWELCZAK,
MARY AUFLEGER, ANN MARIE TADDEO,
CAROLYN GRIMALDI, MARGEMARGARET ALLEN,
 AMY FIELDS, and MATTHEW
 ROSENBAUM,
                 Defendants.




       1.      This is a complaint for damages and injunctive relief pursuant to Title VII of the Civil

Rights Act of 1964, as amended, 42 USC §§ 2000e, et seq., and 42 USC § 1983. Plaintiff also raises

claims under the New York State Human Rights Law, NY Executive Law § 290, et seq., as amended.

       2.      As is set forth in detail below, Defendants discriminated against Plaintiff on the basis

of sex, and retaliated against her in violation of state and federal law.




                                    JURISDICTION AND VENUE


       3.      Jurisdiction is conferred upon this Court by 28 USC § 1331 and 28 USC § 1343;

supplemental jurisdiction over Plaintiff's state law claims is conferred upon this Court by 28 USC §

1367(a).
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4.1.   Venue is properly laid in the Western District of New York under 28 USC § 1396(b) because all of

       the parties are located in the Western District of New York, and the actions complained of occurred

       in the Western District of New York

               5.4.    Plaintiff has exhausted administrative remedies.


               6.5.    A copy of the complaint filed before the Equal Employment Opportunity

       Commission (EEOC) on or about October 29August 24, 2020 is attached hereto as Exhibit A.

               7.6.    A copy of the Right to Sue letter issued by the EEOC on April 21, 2021, is

       attached hereto as Exhibit B.




                                                        PARTIES


               8.7.    Plaintiff, REBECCA KLYMN is a woman.


               9.8.    Defendant UNIFIED COURT SYSTEM OF THE STATE OF NEW YORK

       (“UCS”) is made up of various levels of trial and appellate courts established by the

       Constitution and laws of the State of New York, and is an employer within the meaning of the

       relevant statutes.

               10.9.   Defendant OFFICE OF COURT ADMINISTRATION (“OCA”) is a

       subdivision of Defendant UCS that includes Diversity and Inclusion and Human Resources,

       and is an employer within the meaning of the relevant statutes.

               11.10. Defendant MONROE COUNTY SUPREME COURT is a trial court located in

       the Seventh Judicial District of the State of New York, and is an employer within the meaning

       of the relevant statutes.

               11.     At all times relevant to this Complaint, Plaintiff was an employee of
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Defendants UCS, OCA and Monroe County Supreme Court.

       12.     Defendants UCS, OCA and Monroe County Supreme Court are legally obligated to

implement adequate sexual harassment training and awareness programs for all employees.

       13.     Defendants UCS, OCA and Monroe County Supreme Court are legally obligated to

establish adequate avenues for complaints of violations of their sexual harassment policies

       12.14. Defendant OFFICE of the MANAGING INSPECTOR GENERAL for BIAS

MATTERS (“OIG”) investigates allegations of bias based upon, inter alia, race and sex, and that

affect the workplace or the terms and conditions of employment of UCS personnel.

       13.15. At all times relevant to this Complaint, Defendant COSMAS GRANT (“GRANT”)

was an employee of Defendant OIG. He is sued in his personal and official capacities.

       16.     Defendant OIG is legally obligated to establish adequate avenues for complaints of

violations of the sexual harassment policies promulgated by Defendants UCS, OCA and Monroe

County Supreme Court.

       17.     Defendant OIG is legally obligated to investigate all claims of sexual harassment

submitted to it, and to send a report of its investigation to appropriate administrators including the

Administrative Judge overseeing the Complainant, and the appropriate Deputy Chief Administrative

Judge for a determination.

       14.18. At all times relevant to this Complaint, Defendant RONALD PAWELCZAK

(“PAWELCZAK”) was the District Executive of the Seventh Judicial District of the State of New

York. He is sued in his personal and official capacities.

       15.19. At all times relevant to this Complaint, Defendant MARY AUFLEGER

(“AUFLEGER”) was the Assistant District Executive of the Seventh Judicial District of the State of

New York. She is sued in her personal and official capacities

       16.20. At all times relevant to this Complaint, Defendant ANN MARIE TADDEO
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(“TADDEO”) was a Supreme Court Justice in Monroe County, New York. She is sued in her

personal and official capacities.TADDEO


 (“TADDEO”) was a Supreme Court Justice in Monroe County, New York. She is sued in her

 personal and official capacities.

       17.21. At all times relevant to this Complaint, Defendant CAROLYN GRIMALDI

(“GRIMALDI”) was head of Human Resources for Defendant OCA. She is sued in her

personal and official capacities.

       18.22. On information and belief, at all times relevant to this Complaint, Defendant

MARGEMARGARET ALLEN (“ALLEN”) was head of Human Resources at MONROE

COUNTY SUPREME COURT. She is sued in her personal and official capacities.

       19.23. At all times relevant to this Complaint, Defendant AMY FIELDS (“FIELDS”)

was a Principal Court Analyst assigned to Human Resources at MONROE COUNTY

SUPREME COURT. She is sued in her personal and official capacities.

       20.24. At all times relevant to this complaint, Defendant MATTHEW ROSENBAUM

(“ROSENBAUM”) was a Supreme Court Justice in Monroe County, New York. He is sued

in his personal and official capacities.

 his personal and official capacities.



                                                FACTS


       21.25. At all times relevant to this Complaint, Plaintiff was employed by Defendants UCS

and OCA at Defendant MONROE COUNTY SUPREME COURT.

       22.26. Defendant ROSENBAUM entered upon judicial office on March 28, 2005.


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       23.27. From March of 2005 until December of 2019, Plaintiff was employed as Secretary to

Defendant ROSENBAUM.

       24.28. Defendant ROSENBAUM compelled Plaintiff to perform fellatio upon him on

approximately a monthly basis in 2005.

       25.29. Plaintiff performed the acts alleged in ¶ 2429 against her will.


       26.30. Each of the instances alleged in ¶ 2429 occurred in Defendant ROSENBAUM’s

judicial chambers.

       27.31. Defendant ROSENBAUM told Plaintiff that performing fellatio upon him was part of

her job, that he was stressed, and she was required to assist him in relieving his stress.

       28.32. Defendant ROSENBAUM also threatened Plaintiff that if she wanted to keep her job

she would comply with his demands for oral sex.

       33.     In addition to the incidents alleged in ¶ 29, throughout 2005, Defendant

ROSENBAUM also addressed Plaintiff using demeaning terms, commented inappropriately upon

Plaintiff’s clothing, touched and hugged Plaintiff in the presence of others, and required Plaintiff to

perform personal errands for himself and his family during the work day.

       34.     Defendant ROSENBAUM’s actions described in ¶ 34 were unwelcome to Plaintiff.

       29.35. In 2005 Plaintiff was engaged in divorce proceedings.


       30.36. Defendant ROSENBAUM also told Plaintiff that if she wanted to retain custody of her

minor son, she would comply with his demands for oral sex.

       31.37. In 2006, Defendant ROSENBAUM compelled Plaintiff to perform fellatio upon him

on at least thirty separate occasions.

       32.38. Each of the instances alleged in ¶ 3138 occurred in Defendant ROSENBAUM’s

judicial chambers.
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 judicial chambers.

       33.39. Plaintiff performed the acts alleged in ¶ 3138 against her will.


       34.40. In addition to the incidents alleged in ¶¶ 3129, 34 and 38, on or about November 14,

2006, Defendant ROSENBAUM vaginally raped Plaintiff in her home after work hours.

       41.     In addition to the incidents alleged in ¶¶ 29, 34, 38 and 41, throughout 2006,

Defendant ROSENBAUM also addressed Plaintiff using demeaning terms, commented

inappropriately upon Plaintiff’s clothing, touched and hugged Plaintiff in the presence of others, and

required Plaintiff to perform personal errands for himself and his family during the work day.

       42.     Defendant ROSENBAUM’s actions described in ¶¶ 29, 34, 38 and 41, were

unwelcome to Plaintiff.

       35.43. In 2007 Defendant ROSENBAUM compelled Plaintiff to perform fellatio upon him

on at least twenty separate occasions.

       36.44. Each of the instances alleged in ¶ 3544 occurred in Defendant ROSENBAUM’s

judicial chambers.

       37.45. Plaintiff performed the acts alleged in ¶ 35against 44 against her will.


       38.46. In addition to the incidents alleged in ¶¶ 24, 3129, 34, 38, 41 and 35,44 throughout

2005, 2006, and 2007, Defendant ROSENBAUM required Plaintiff to perform personal errands for

himself and his family members during the workday.

       39.47. In addition to the incidents alleged in ¶¶ 24, 3129, 34, 38, 41, 44, and 3547,

throughout 2005, 2006, and 2007, Defendant ROSENBAUM also addressed Plaintiff using

demeaning terms, commented inappropriately upon Plaintiff’s clothing, and touched and hugged

Plaintiff in the presence of others.

       40.48. Defendant ROSENBAUM’s comments and physical contact alleged in ¶ 39¶¶ 29, 34,
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38, 41, 44, 47 and 48 were unwelcome to Plaintiff.

       41.49. On January 10, 2007, Plaintiff spoke with Lisa Cammilleri, a Court Clerk who had

previously worked for Defendant ROSENBAUM, and who was reassigned away from Defendant

ROSENBAUM at that time, about the sexual harassment Plaintiff was enduring.

       42.50. Ms. Cammilleri advised Plaintiff that there was nothing Plaintiff could do because

Defendant ROSENBAUM was a judge, and no one would listen to the Plaintiff.

       43.51. In early 2007, Plaintiff spoke to Robert Barnish in Human Resources about being

assigned to another position.

       44.52. Mr. Barnish advised Plaintiff that he would seek out other assignments for her.


       45.53. On May 14, 2007, Plaintiff told Defendant TADDEO about Defendant

ROSENBAUM’s sexual demands.

       54.     As a supervisor or manager, Defendant TADDEO was obligated, pursuant to

Defendant UCS’ sexual harassment policy to provide a copy of Defendant’s sexual harassment

complaint form, and to send the complaint to the OIG if Plaintiff did not.

       55.     Defendant TADDEO did not provide a copy of the complaint form to Plaintiff and did

not ensure that her complaint was forwarded to OIG.

       46.56. Defendant TADDEO told Plaintiff that there wasn’t much she (TaddeoTADDEO)

could do, other than conduct sexual abuse training.

       47.57. Defendant TADDEO also told Plaintiff that, unfortunately, women had to endure

sexual harassment from male judges because there was no way to have them reprimanded.

       58.     Despite having been authorized to conduct sexual abuse training by the then-Chief

Administrative Judge for the Seventh Judicial District, Defendant TADDEO never conducted such

training, nor caused such training to be conducted.

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        48.59. On November 20, 2007, Plaintiff met with Defendant ALLEN, who was then Head of

Human Resources at Defendant MONROE COUNTY SUPREME COURT.

        49.60. Plaintiff told Defendant ALLEN about Defendant ROSENBAUM’s conduct, and

asked for help.

        61.       As a supervisor or manager, Defendant ALLEN was obligated, pursuant to Defendant

UCS’ sexual harassment policy to provide a copy of Defendant’s sexual harassment complaint form,

and to send the complaint to the OIG if Plaintiff did not.

        62.       Defendant ALLEN did not provide a copy of the complaint form to Plaintiff and did

not ensure that her complaint was forwarded to OIG.

        50.63. Defendant ALLEN told Plaintiff that if Plaintiff was, in fact, complaining about

Defendant ROSENBAUM, Defendant ALLEN would have no choice but to fire Plaintiff.

        51.64. Defendant ALLEN also told Plaintiff that if Plaintiff were merely inquiring about “the

process” to help someone else, that Defendant ALLEN would send Plaintiff information.

        52.65. Plaintiff asked for information about the complaint process.


        53.66. Defendant ALLEN sent Plaintiff an email with links to information about the Courts’

Workforce Diversity Office, and the Office of the Special Inspector General for Bias Matters.

        54.67. On November 21, 2007, Plaintiff completed a claim of discrimination using the form

she had receivedfound on the Internet, and mailed it to Defendant OIG.

        55.68. Plaintiff never received any response to the complaint she mailed on November 21,

2007.

        69.       Defendants OIG and GRANT did not investigate Plaintiff’s 2007 complaint and did

not report her complaint to the appropriate administrative judges.

        56.70. In 2008 Defendant ROSENBAUM compelled Plaintiff to perform fellatio upon him

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on at least fifteen separate occasions.

         57.71. Each of the instances alleged in ¶ 5671 occurred in Defendant ROSENBAUM’s

judicial chambers.

         58.72. Plaintiff performed the acts alleged in ¶ 56 71 against her will.


         59.73. In addition to the conduct alleged in ¶ 5671, in 2008, Defendant ROSENBAUM, also

required Plaintiff to perform personal errands for himhimself and his family members during work

hours.

         60.74. In addition to the incidents alleged in ¶¶ 5629, 34, 38, 41, 44, 47, 48, 71 and 5974,

throughout 2008 Defendant ROSENBAUM also addressed Plaintiff using demeaning terms,

commented inappropriately upon Plaintiff’s clothing, and touched and hugged Plaintiff in the

presence of others.

         61.75. Defendant ROSENBAUM’s comments and conduct alleged in ¶¶ 56 and 6029, 34, 38,

41, 44, 47, 48, 71, 74 and 75 were unwelcome to Plaintiff.

         62.76. Between January 1 and May 31, 2009 Defendant ROSENBAUM compelled Plaintiff

to perform fellatio upon him on at least five separate occasions.

         63.77. Each of the instances alleged in ¶ 6277 occurred in Defendant ROSENBAUM’s

judicial chambers.

         64.78. Plaintiff performed the acts alleged in ¶ 6277 against her will.


         65.79. In addition to the conduct alleged in ¶ 6229, 34, 38, 41, 44, 47, 48, 71, 74, 75 and 77,

in 20082009, Defendant ROSENBAUM, also required Plaintiff to perform personal errands for

himhimself and his family members during work hours.




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          66.    In addition to the incidents alleged in ¶¶ 62 and 65¶ 29, 34, 38, 41, 44, 47, 48, 71, 74,
                 75, 77 and 80, throughout 2008 and 2009,

  Defendant ROSENBAUM also addressed Plaintiff using demeaning terms, commented

         80.    inappropriately upon Plaintiff’s clothing, and touched and hugged Plaintiff in the

presence of others.

         67.81. Defendant ROSENBAUM’s comments and physical contact alleged in ¶ 62 and 66 ¶¶

29, 34, 38, 41, 44, 47, 48, 71, 74, 75, 77, 80 and 81 were unwelcome to Plaintiff.

         68.82. On June 1, 2009, Plaintiff refused Defendant ROSENBAUM’s demand for oral sex

and told him she would no longer respond to his demands for oral sex, nor acquiesce to his threats.

         83.    69.    Thereafter, on a daily basis, in 2009, 2010, 2011, 2012, 2013, 2014, 2015,

2016, and 2017, Defendant ROSENBAUM continued to touch Plaintiff, put his arm around Plaintiff,

commented inappropriately upon Plaintiff’s clothing, and address her by demeaning andan

inappropriate names such as “sweetie” and “honey.”

         70.84. Defendant ROSENBAUM’s comments and physical contact alleged in ¶ 6984 were

unwelcome to Plaintiff.

         71.85. Throughout 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016 and 2017, Defendant

ROSENBAUM also continued to require Plaintiff to perform personal errands for himhimself and his

family, including performing secretarial work for Defendant ROSENBAUM’S Temple during work

hours.

         72.86. Plaintiff continued to seek other positions within Defendant UCS without success.

         73.87. In 2010 Mr. Barnish told Plaintiff that he believed no one within Defendant UCS

would hire her due to fear of Defendant ROSENBAUM.

         74.88. In January of 2018, Plaintiff received Defendant UCS’ updated form for filing a

complaint of discriminatory treatment.

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 complaint of discriminatory treatment.

       75.89. Plaintiff submitted a second complaint to Defendant OIG on January 8, 2018.


       76.90. Plaintiff never received a response to the complaint alleged in ¶ 7590.


       91.     Defendants OIG and GRANT did not investigate Plaintiff’s 2007 and 2018

complaints and did not report her complaints to the appropriate administrative judges.

        77.     Throughout 2018, and during the first ten months of 2019,

 Defendant ROSENBAUM continued to touch Plaintiff, put his arm around

 Plaintiff, commented

       92.     inappropriately upon Plaintiff’s clothing, and address her by demeaning andan

inappropriate names such as “sweetie” and “honey.”

       78.93. Defendant ROSENBAUM’s comments and physical contact alleged in ¶ 7793

were unwelcome to Plaintiff.

       79.94. Throughout 2018, and during the first seven months of 2019, Defendant

ROSENBAUM also continued to require Plaintiff to perform personal errands for himhimself

and his family during work hours.

       80.95. Beginning in June 2019, Defendant ROSENBAUM urged Plaintiff to take a

leave of absence “to get her head on straight.”

       81.96. Aside from comments such as those alleged in ¶ 80¶¶ 93 and 96, Defendant

ROSENBAUM stopped speaking to Plaintiff altogether in July 2019.

       82.97. On July 31, 2019, Plaintiff met separately with Defendant TADDEO, Defendant

PAWELCZAK and Defendant FIELDS.

       98.     As a supervisor or manager, Defendant PAWELCZAK was obligated, pursuant to

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Defendant UCS’ sexual harassment policy to provide a copy of Defendant’s sexual harassment

complaint form, and to send the complaint to the OIG if Plaintiff did not.

        99.     Defendant PAWELCZAK did not provide a copy of the complaint form to

Plaintiff and did not ensure that her complaint was forwarded to OIG.

        83.100. Plaintiff was told by each that they could do nothing to help her; each of them

recommended that she take time off from work to use up her accrued time off, and apply for

other jobs.

        84.101. In August and September of 2019, Defendant ROSENBAUM was verbally

abusive toward Plaintiff.

        85.102. In August and September of 2019, Defendant ROSENBAUM encouraged or

directed his staff to stop speaking to Plaintiff.

        86.103. In August 2019, Plaintiff sought assistance from Defendants FIELDS and

AUFLEGER.

        104.    As a supervisor or manager, Defendant AUFLEGER was obligated, pursuant to

Defendant UCS’ sexual harassment policy to provide a copy of Defendant’s sexual harassment

complaint form, and to send the complaint to the OIG if Plaintiff did not.

        105.    Defendant AUFLEGER did not provide a copy of the complaint form to Plaintiff

and did not ensure that her complaint was forwarded to OIG.

        87.106. After Defendant FIELDS met with Plaintiff, FIELDS sent Plaintiff a follow-up

email, with a copy to Defendant ROSENBAUM, referencing the substance of their discussion.

        88.107. Defendant ROSENBAUM’s hostility toward and mistreatment of Plaintiff

increased after Defendant FIELDS sent the email alleged in ¶ 87107.

        89.108. Defendants FIELDS and AUFLEGER told Plaintiff they could not assist her.


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       90.109. In August of September of 2019, Defendant AUFLEGER met with Defendant

ROSENBAUM’s staff and advised them that they needed to talk to Plaintiff about work.

       91.110. After Defendant AUFLEGER spoke to Defendant ROSENBAUM’s staff, the

staff refused to work with Plaintiff.

       92.111. Plaintiff requested a leave of absence.


       93.112. On September 9, 2019, Defendant ROSENBAUM advised Plaintiff he would not

approve her request for leave.

        94.     On or about October 1929, 2019, Plaintiff submitted a request for a

 Family & Medical Leave Act (FMLA) leave directly to Human Resources, based

 upon a note from

       113.     Plaintiff’s doctor excusing her from work due to physical symptoms arising from

stress due to a hostile work environment.

       114.    Plaintiff has been diagnosed with Complex Post Traumatic Stress Disorder arising

from the harassment she endured from 2005 through 2019.

        95.     Plaintiff’s physician initially approved a leave of absence to end on January 31,

       115.     2020.


        70.     On information and belief, Human Resources notified Defendant UCS’ Work-
                Safe office of Plaintiff’s FMLA leave request on or about October 19, 2019.

        96.     On or about October 29, 2019, Plaintiff filed a complaint with the EEOC.

       97.116. On November 8, 2019, Plaintiff received a telephone call from Connor Van

Everen at Defendant UCS’ Work-Safe office.

       98.117. On information and belief, the source of such information being the New York

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Courts’ website, the Work-Safe office’s mission is to ensure the court system promotes and

supports a safe work environment for its employees and members of the public.

       99.118. Mr. Van Everen asked Plaintiff to submit a written description of her experiences

working for Defendant ROSENBAUM.

       100.119.        Plaintiff submitted a detailed description of her situation to Mr. Van

Everen.


       101.120.        On information and belief, Mr. Van Everen forwarded Plaintiff’s

complaint to Defendants PAWELCZAK and OIG.

       102.121.        On information and belief Defendant PAWELCZAK notified Defendant

ROSENBAUM of Plaintiff’s complaint.

       103.122.        On information and belief, the 2019 submission to Defendant OIG by

Work- Safe was the third time a complaint about Plaintiff’s harassment by Defendant

ROSENBAUM was submitted to Defendant OIG.

       104.123.        On information and belief, Defendant OIG forwarded Plaintiff’s

Complaint to the New York Commission on Judicial Conduct.

       105.124.        On December 19, 2019, Plaintiff was interviewed by the New York State

Commission on Judicial Conduct.

       106.125.        In December 2019, Defendant AUFLEGER notified Plaintiff that

Plaintiff’s job title was changing from Judicial Secretary to Court Analyst.

       107.126.        On December 28, 2019, Plaintiff was notified by a representative of the

New York State Commission on Judicial Conduct that Defendant ROSENBAUM had agreed to

resign from his judicial position, and that the resignation would end any further investigation.



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        108.127.        On January 15, 2020, Plaintiff was interviewed by Defendant GRANT.


        109.128.       During the interview, Defendant GRANT asserted that Defendant OIG

had “lost” Plaintiff’s prior complaints.

        110.129.       Also, during the January 15, 2020 interview, Defendant GRANT

suggested to Plaintiff that she had “asked for” the treatment she received because of how she

dressed.

        111.130.       Plaintiff was on FMLA leave from October 29, 2019 to March 30, 2020.


        112.131.       In February of 2020, Plaintiff spoke to Defendant GRIMALDI.


        113.132.       Defendant GRIMALDI told Plaintiff that she (Grimaldi) would identify a

job to which Plaintiff would be reassigned, and get back to Plaintiff.

        114.133.       Plaintiff heard back from Defendant GRIMALDI twice, in February and

March of 2020.

        115.134.       On each of the occasions alleged in ¶ 115136, Defendant GRIMALDI told

Plaintiff that Defendant GRIMALDI had not yet located a specific assignment for Plaintiff.

        116.135.       Plaintiff did not hear back from Defendant GRIMALDI after the second

call.


        117.136.       Beginning on March 31, 2020, Plaintiff was placed on sick leave pursuant

to her doctor’s direction.

        118.137.       On August 13, 2020, Deputy Chief Administrative Judge Vito Caruso sent

Plaintiff a letter on behalf of Defendant UCS, advising Plaintiff that Defendant OIG “has

completed its investigation concerning your hostile work environment complaint . . . have treated

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this matter very seriously and have taken appropriate action.”

       138.    On or about August 24, 2020, Plaintiff filed a complaint with the EEOC.

       139.    Plaintiff was not provided any information about what “appropriate action” had

been taken.

       119.140.       Plaintiff used her accrued time, and was granted discretionary leave by

Defendants through April 28, 2021.

       120.141.       By letter dated April 28, 2021, Judge Caruso advised Plaintiff that she was

placed on involuntary leave effective April 29, 2021.

       121.142.       On or about April 28, 2021, William Hart, president of Plaintiff’s Union

advised her that there had been a position for her in her new title in Family Court, Monroe

County since March of 2020.

       122.143.       Defendants had not notified Plaintiff of the job in Family Court between

March 2020 and April 29, 2021.

       123.144.       Plaintiff’s doctor released Plaintiff to return to work on May 17, 2021.


       145.    Plaintiff was scheduled for an Defendant Pawelczak directed Plaintiff not to

report to work on May 17, 2021, as she would not be permitted to return to work until she was

cleared in an independent medical exam (“IME”)

       124.146.       Plaintiff was scheduled for an IME on June 16 and 21, 2021.

       125.147.       Plaintiff appeared for her IME as scheduled, and was examined.


       148.    As of the date ofThe original complaint in this Complaintaction was filed on July

16, 2021.

       149.    On August 6, 2021, Judge Caruso sent Plaintiff a letter directing her to report for

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work at the Monroe County Family Court on August 9, 2021.

          150.   Plaintiff reported for work as directed by Judge Caruso.

          126.151.         From August 9, 2021 to the present, Plaintiff has not yet been cleared to

return to work by Defendant UCS.assigned to a position of Court Analyst in Family Court,

Monroe County.

          127.       On information and belief, as of the date of this Complaint,

 Plaintiff has exhausted all of her accrued leave time.

          128.152.         Between 2005 and 2019, all of the Defendants other than Defendant

Rosenbaum ignored the sexual discrimination against Plaintiff, discouraged her from

complaining about the illegal treatment she endured, and ignored the complaints Plaintiff did

submit.

          153.   The actions (and inactions) of the Defendants other than Defendant Rosenbaum

enabled, condoned and participated in Defendant Rosenbaum’s ongoing abuse of Plaintiff,

pursuant to a long-standing unwritten policy and practice of Defendants OCA, UCS and Monroe

County Supreme Court that acquiesced in the sexual abuse of subordinate employees of judges

by judges for the judges’ sexual gratification.

          129.154.         In 2019, Defendants OCA, UCS and OIG enabled Defendant

ROSENBAUM to retire from his position, and to avoid any further investigation or disciplinary

action against him.

          130.   From 2019 to the presentAugust 6, 2021, the remaining Defendants have delayed
                 acting on
          155.   Plaintiff’s complaintcomplaints, and failed to inform Plaintiff of the progress of

the investigation, and of efforts to remedy her situation.

          131.156.         From March 2020 to April 29August 6, 2021, Defendants failed to notify

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Plaintiff of the existence of a position waiting for her in Family Court.

         132.157.      Defendants’The actions of Defendants MONROE COUNTY SUPREME

COURT, UCS, OCA, OIG, GRANT, PAWELCZAK, AUFLEGER, TADDEO, GRIMALDI,

ALLEN, and FIELDS alleged herein, extending from 2005 through the presentAugust 6, 2021,

constitute a continuous, integrated violation of Plaintiff’s right to be free from discrimination on

the basis of her sex in violation of State and Federal law.

         133.158.      In order to make Plaintiff whole, the Court must examine all of the actions

of all of the Defendants alleged herein in context, and address the continuing violation of

Plaintiff’s rights.

 Plaintiff’s rights.


         159.   Plaintiff continues to suffer the effects of the Complex Post Traumatic Stress

Disorder referenced in Paragraph 115, and to receive treatment for that condition to the present

day.


       FIRST CAUSE OF ACTION AGAINST DEFENDANTS MONROE COUNTY SUPREME
         COURT, UNIFIED COURT SYSTEM OF THE STATE OF NEW YORK, OFFICE OF
        COURT ADMINISTRATION, OFFICE OF THE MANAGING INSPECTOR GENERAL
        FOR BIAS MATTERS: DISCRIMINATION ON THE BASIS OF SEX IN VIOLATION
                                   OF TITLE VII

         134.160.      Plaintiff reasserts and realleges the allegations set forth in ¶¶ 1

through 135161 as though fully set forth herein.

         135.161.      As an employer, Defendants are responsible for making and

enforcing an effective sexual harassment policy in order to protect all UCS and OCA

employees from quid pro quo and hostile work environment sexual discrimination, and

from retaliation for complaining of sexual harassment.

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        136.162.          On information and belief, Defendants have established a policy that

purports to prevent sexual harassment of employees of Defendants UCS, OCA and MONROE

COUNTY SUPREME COURT.

         137.      As is set forth in detail herein, Defendants failed to enforce said sexual
        163.       harassment policy from 2005 until 2019.


            138.    Plaintiff submitted complaints of sexual harassmentInstead, pursuant to

 Defendant OIG in 2007 and 2018.

        164.       As is set forth in detailan unwritten policy, alleged herein, employees of

Defendants condoned, enabled and participated in Defendant Rosenbaum’s sexual abuse of

Plaintiff

        165.       Plaintiff submitted complaints of sexual harassment to Defendant OIG in 2007

and 2018.

        139.166.          As is set forth in detail herein, employees of Defendants who were

charged with the responsibility of investigating claims of sexual harassment and stopping sexual

harassment when it occurred, failed or refused to take any actions to stop or prevent Plaintiff

from beingwho were charged with the responsibility of investigating claims of sexual harassment

and stopping sexual harassment when it occurred, failed or refused to take any actions to stop or

prevent Plaintiff from being harassed by Defendant ROSENBAUM from 2005 until 2019.

        140.167.          As is set forth in detail herein, employees of Defendants who were

charged with the responsibility of investigating claims of retaliation and stopping retaliation

when it occurred, failed or refused to take any actions to stop or prevent Plaintiff from being

retaliated against by Defendant ROSENBAUM from 2007 until 2019.

        168.       As is set forth in detail herein, supervisory and managerial employees of

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Defendants who were charged with the responsibility of reporting claims of sexual

harassment failed to report Plaintiff’s claims as required by Defendants’ policies.

       141.169.        On information and belief, Defendants’ actions complained of

herein were taken pursuant to aan unwritten policy or practice designed and implemented

to protect judges from discipline or any other adverse action in response to the judges’

violation of laws prohibiting sexual harassment and/or sexual discrimination.

       142.170.        Defendants’ actions violated Title VII.


       143.171.        As a result of Defendants’ illegal actions, Plaintiff has suffered

economic loss, loss of enjoyment of life, damage to her reputation, emotional distress and

physical injury.



         SECOND CAUSE OF ACTION AGAINST DEFENDANTS COSMAS GRANT,
          RONALD PAWELCZAK, MARY AUFLEGER, ANN TADDEO, CAROLYN
        GRIMALDI, MARGE ALLEN, AMY FIELDS, AND MATTHEW ROSENBAUM:
        DENIAL OF EQUAL PROTECTION OF THE LAWS IN VIOLATION OF 42 USC
                                   § 1983


       144.172.        Plaintiff reasserts and realleges the allegations set forth in ¶¶ 1

through 144173 as though fully set forth herein.

       145.173.        As an employee of Defendant UCS, Plaintiff was entitled to a

workplace free of sexual harassment and retaliation.

       146.174.        At all times relevant to this Complaint Defendants GRANT,

PAWELCZAK, AUFLEGER, TADDEO, GRIMALDI, ALLEN, FIELDS, and

ROSENBAUM acted under color of state law with respect to the Plaintiff.

       147.175.        Defendants GRANT, PAWELCZAK, AUFLEGER, TADDEO,


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GRIMALDI, ALLEN, FIELDS, and ROSENBAUM were, at all times relevant to this

Complaint, legally obligated to comply with the laws of the United States that prohibit

discrimination in the workplace on the basis of sex.

       148.176.        Defendant ROSENBAUM used his status as a high-ranking person acting

under color of state law to coerce Plaintiff to engage in sexual acts with him against her will.

       149.177.        Defendant ROSENBAUM also subjected Plaintiff to unwelcome touching

and inappropriate comments and forms of address on the basis of Plaintiff’s sex.

       150.178.        Defendant ROSENBAUM also retaliated against Plaintiff after Plaintiff

complained.

       151.179.        Defendants GRANT, PAWELCZAK, TADDEO, GRIMALDI, ALLEN,

FIELDS, and AUFLEGER, each of whom was charged with the responsibility to act to prevent

sexual harassment in the workplace, failed or refused to take any actions to prevent Defendant

ROSENBAUM from sexually harassing Plaintiff and retaliating against her.

       180.    On information and belief, Defendants’ actions complained of herein were taken

pursuant to a policy or practice designed and implemented to protect judges from discipline or

any other adverse action in response to the judges’ violation of laws prohibiting sexual

harassment and/or sexual discrimination.

       152.1. On information and belief, Defendants’ actions complained of herein were taken

pursuant to a policy or practice designed and implemented to protect judges from discipline or

any other adverse action in response to the judges’ violation of laws prohibiting sexual

harassment and/or sexual discrimination.

       153.181.        Defendants’ actions violated Title VII42 USC § 1983.




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       154.182.          As a result of Defendants’ illegal actions, Plaintiff has suffered

economic loss, loss of enjoyment of life, damage to her reputation, emotional distress and

physical injury.



      THIRD CAUSE OF ACTION AGAINST DEFENDANTS MONROE COUNTY
       SUPREME COURT, UNIFIED COURT SYSTEM OF THE STATE OF NEW
          YORK, OFFICE OF COURT ADMINISTRATION, OFFICE OF THE
            MANAGING INSPECTOR GENERAL FOR BIAS MATTERS:
      DISCRIMINATION ON THE BASIS OF SEX IN VIOLATION OF THE NEW
                        YORK HUMAN RIGHTS LAW


       155.183.          Plaintiff reasserts and realleges the allegations set forth in ¶¶ 1

through 155184 as though fully set forth herein.

       156.184.          As an employer, Defendants are responsible for making and

enforcing an effective sexual harassment policy in order to protect all UCS and OCA

employees from quid pro quo and hostile work environment sexual discrimination, and

from retaliation for complaining of sexual harassment.

       157.185.          On information and belief, Defendants have established a policy

that purports to prevent sexual harassment of employees of Defendants UCS and

MONROE COUNTY SUPREME COURT.

       158.186.          As is set forth in detail herein, Defendants failed to enforce said

sexual harassment policy from 2005 until 2019.

       159.1. Plaintiff submitted complaints of sexual harassment to Defendant OIG in

2007 and 2018.

        160.       As is set forth in detail herein, employees of Defendants who were charged

 with the responsibility of investigating claims of sexual harassment and stopping sexual

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 harassment when it occurred, failed or refused to take any actions to stop or prevent Plaintiff

 from being

       187.    Plaintiff submitted complaints of sexual harassment to Defendant OIG in 2007

and 2018.

       188.    As is set forth in detail herein, employees of Defendants who were charged with

the responsibility of investigating claims of sexual harassment and stopping sexual harassment

when it occurred, failed or refused to take any actions to stop or prevent Plaintiff from being

harassed by Defendant ROSENBAUM from 2005 until 2019.


       161.189.        As is set forth in detail herein, employees of Defendants who were

charged with the responsibility of investigating claims of retaliation and stopping retaliation

when it occurred, failed or refused to take any actions to stop or prevent Plaintiff from being

retaliated against by Defendant ROSENBAUM from 2007 until 2019.

       162.190.        On information and belief, Defendants’ actions complained of herein were

taken pursuant to a policy or practice designed and implemented to protect judges from

discipline or any other adverse action in response to the judges’ violation of laws prohibiting

sexual harassment and/or sexual discrimination.

       163.191.        Defendants’ actions violated the New York State Human Rights Law.


       164.192.        As a result of Defendants’ illegal actions, Plaintiff has suffered economic

loss, loss of enjoyment of life, damage to her reputation, emotional distress and physical injury.



  FOURTH CAUSE OF ACTION AGAINST DEFENDANTS COSMAS GRANT, RONALD
  PAWELCZAK, MARY AUFLEGER, ANN TADDEO, CAROLYN GRIMALDI, MARGE
  ALLEN, AMY FIELDS, AND MATTHEW ROSENBAUM: DISCRIMINATION ON THE

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       BASIS OF SEX IN VIOLATION OF THE NEW YORK HUMAN RIGHTS LAW


       165.193.         Plaintiff reasserts and realleges the allegations set forth in ¶¶ 1

through 164194 as though fully set forth herein.

       166.194.         As an employee of Defendant UCS, Plaintiff was entitled to a

workplace free of sexual harassment and retaliation.

       167.195.         Defendants GRANT, PAWELCZAK, AUFLEGER, TADDEO,

GRIMALDI, ALLEN, FIELDS, and ROSENBAUM were, at all times relevant to this

Complaint, legally obligated to comply with the provisions of the New York Human

Rights Law that prohibit discrimination in the workplace on the basis of sex.

       168.196.         Defendant ROSENBAUM used his status as a high-ranking person

acting under color of state law to coerce Plaintiff to engage in sexual acts with him

against her will.

       169.197.         Defendant ROSENBAUM also subjected Plaintiff to unwelcome

touching and inappropriate comments and forms of address on the basis of Plaintiff’s sex.

       170.198.         Defendant ROSENBAUM also retaliated against Plaintiff after

Plaintiff complained.

       171.199.         Defendants GRANT, PAWELCZAK, AUFLEGER, TADDEO,

GRIMALDI, ALLEN and FIELDS, each of whom was charged with the responsibility to

act to prevent sexual harassment in the workplace, failed or refused to take any actions to

prevent Defendant ROSENBAUM from sexually harassing Plaintiff and retaliating

against her.

       200.    On information and belief, Defendants’ actions complained of herein were



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taken pursuant to a policy or practice designed and implemented to protect judges from

discipline or any other adverse action in response to the judges’ violation of laws

prohibiting sexual harassment and/or sexual discrimination.

       172.1. On information and belief, Defendants’ actions complained of herein were taken

pursuant to a policy or practice designed and implemented to protect judges from discipline or

any other adverse action in response to the judges’ violation of laws prohibiting sexual

harassment and/or sexual discrimination.

       173.201.        Defendants’ actions violated the New York Human Rights Law.


       174.202.        As a result of Defendants’ illegal actions, Plaintiff has suffered economic

loss, loss of enjoyment of life, damage to her reputation, emotional distress and physical injury.




       WHEREFORE, Plaintiff respectfully requests this Court to enter Judgment:


       a.      Holding that Defendants have violated Plaintiff’s rights under 42 USC §§2000e,

et seq. and 42 USC §1983, and the New York Human Rights Law;

       b.      Holding that the Defendants have engaged in a continuing violation of Plaintiff’s

rights from 2005 to the present as alleged herein;

       c.      Awarding Plaintiff her lost pay;


       d.      Awarding Plaintiff compensatory damages;


       e.      Awarding Plaintiff punitive damages to the maximum amount permitted by law;




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        f.     Awarding Plaintiff pre-judgment and post-judgment interest to the

maximum amount permitted by law;

        g.     Awarding Plaintiff reimbursement for lost pension, and Social Security, in an

amount to be proved at trial;

         h.     Awarding Plaintiff attorney’s fees and costs to the maximum amount permitted
                by

        h.     law;


        i.     Enjoining Defendants from engaging in further discrimination against the

Plaintiff;


        j.     Enjoining Defendants from: (i) subjecting employees to discrimination

and harassment based on the sex; and (ii) retaliating against employees who engage in

activity protected under title VII, and the New York Human Rights Law; and

        k.     Providing such other relief as the Court deems just and proper.


        Plaintiff demands a trial by jury on all matters triable by jury.




Dated: July 16, 2021 ___, 2022




 s/Lindy Korn, Esq.                                   s/Anna Marie Richmond, Esq.
_________________________________                    ________________________________
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